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        EXHIBIT E
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Esra A. Hudson                                       Michael J. Gottlieb
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Direct Dial: (310) 312-4381                          Direct Dial: (202) 744-0858
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April 23, 2025


VIA EMAIL

Bryan Freedman
Liner Freedman Taitelman + Cooley LLP
1801 Century Park West, 5th Floor
Los Angeles, CA 90067

Mitchell Schuster
Meister Seelig & Fein PLLC
125 Park Avenue, 7th Floor
New York, NY 10017

Re:      Lively v. Wayfarer Studios LLC, et al., No. 1:24-cv-10049-LJL; Wayfarer Studios LLC, et
al. v. Lively, et al., No. 1:25-cv-00449-LJL

Dear Mr. Freedman and Mr. Schuster:

        On behalf of our client Blake Lively, we write to address the frivolous claims asserted by
Plaintiff It Ends With Us Movie LLC (“IEWU LLC”) against Ms. Lively, which violate Rule 11 of the
Federal Rules of Civil Procedure (“Rule 11”). In accordance with Rule 11, enclosed please find a copy
of Ms. Lively’s proposed motion, which we intend to file as to you, your law firms, and IEWU LLC, if
IEWU LLC does not withdraw the following claims: (1) Civil Extortion (ECF No. 50 (the “FAC”) ¶¶
316-23 (“Extortion Claim”)); (2) Intentional Interference with Contractual Relations (id. ¶¶ 347-55);
(3) Intentional Interference with Prospective Economic Advantage (id. ¶¶ 356-65); (4) Negligent
Interference with Prospective Economic Advantage (id. ¶¶ 366-74) (together with (2) and (3), the
“Interference Claims”)); and (5) Defamation (id. ¶¶ 324-31 (“Defamation Claim”)).

        As you know, Rule 11 imposes a duty upon counsel to ensure any pleading or motion presented
to the Court is not “frivolous, legally unreasonable, or factually without foundation,” and “is not being
presented for any improper purposes, such as to harass, cause unnecessary delay, or needlessly
increase the cost of litigation.” Gong v. Sarnoff, 2023 WL 5372473, *7–8 (S.D.N.Y. Aug. 22, 2023)
(Liman, J.) (citations omitted); see Fed. R. Civ. P. 11(b). A violation of this duty may subject both the
party and the filing attorney to sanctions. See id at *7; Fed. R. Civ. P. 11(c)(1), (5). For the reasons
discussed herein, IEWU LLC’s Extortion, Interference, and Defamation Claims are “so destined to fail
based on the facts and existing precedent” that no reasonable attorney could believe they were well-
grounded. O’Malley v. N.Y. City Transit Auth., 896 F.2d 704, 706 (2d Cir. 1990); Goldman v. Barrett,
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825 Fed. App’x. 35, 37 (2d Cir. 2020). Indeed, as described herein, IEWU LLC’s claims are so
baseless that the “only plausible conclusion to be drawn” is that you brought them for the “improper
purpose” of harass[ing]” Ms. Lively, causing “unnecessary delay,” and “needlessly increas[ing] the
cost of litigation,” all of which is prohibited by Rule 11(b)(1). See China AI Cap. Ltd. on behalf of
Link Motion Inc. v. DLA Piper LLP (US), 2024 WL 964596, at *5, *13 (S.D.N.Y. Mar. 6, 2024)
(quoting Fed. R. Civ. P. 11(b)(1)). If you do not withdraw the aforementioned claims within Rule
11(c)(1)(A)’s 21-day safe harbor period, we will seek sanctions against you, your law firms, and your
client. Any such sanctions would be in addition to and independent of any costs, attorney’s fees, or
damages that Ms. Lively is otherwise entitled to under applicable law.

I.     IEWU LLC’s Extortion, Interference, and Defamation Claims against Ms. Lively are
       Frivolous.

       A. IEWU LLC’s Extortion Claim is Legally Unreasonable and Factually Baseless.

        IEWU LLC cannot support an Extortion Claim against Ms. Lively because it makes no factual
allegations that Ms. Lively threatened or demanded anything from it, nor can it.

        IEWU LLC’s Extortion Claim, and related request for punitive and exemplary damages, asserts
that Ms. Lively “made threats to the Wayfarer Parties” that “included demands that money, property,
services, or other sources of value be conferred upon [Ms. Lively] without consideration or contractual
entitlement thereto.” FAC ¶¶ 317-18; ECF No. 162 (“IEWU Opp.”) at 33 (quoting Khadavi v. Stalgi,
Inc., 2021 WL 929099, at *6 (C.D. Cal. 2021) (conceding claim requires establishing “the obtaining of
property or other consideration from another, with his or her consent, . . . induced by a wrongful use of
force or fear[.]”)). In support of this claim, IEWU LLC identifies two acts, neither of which has
anything to do with it. In its Opposition, IEWU LLC claims that Ms. Lively supposedly “demanded
that the Wayfarer Parties issue a humiliating and false statement taking blame for Lively’s press
woes.” IEWU Opp. at 32 (citing FAC ¶¶ 16, 250-56). Specifically, the FAC alleges that: “The
executive communicated the demand from Lively and Reynolds that Wayfarer, Heath and Baldoni
make a public apology that day and that, if they failed to do so, the ‘gloves would come off.’” FAC ¶
250 (emphasis added). The FAC goes on to suggest Mr. Reynolds and Ms. Lively “demanded that
Wayfarer put out a statement ‘accepting blame’ for the problems during filming, with an express threat
that they themselves would attack Wayfarer in the press if Wayfarer refused.” Id. ¶¶ 253-54 (emphasis
added). In other words, the only threats or demands at issue were allegedly made to Baldoni,
Wayfarer, and Heath. FAC ¶¶ 250, 253-54. The same is true with respect to the second purported
extortionate act identified by IEWU LLC: that Ms. Lively purportedly demanded that Baldoni, Heath,
and Wayfarer submit letters to the PGA in support of her certification for the p.g.a. mark, which
Baldoni and Heath ultimately did. IEWU LLC Opp. at 32-33 (citing FAC ¶¶ 152-58; see also FAC
Ex. A at 92).

        Despite making these allegations on behalf of the “Wayfarer Parties,” the FAC itself confirms
that no “demands,” “threats,” or “coercive” behavior were directed toward IEWU LLC at all. IEWU
LLC is an entity separate and apart from Baldoni, Wayfarer, and Health; indeed, there is not any
allegation in the FAC suggesting any relationship between IEWU LLC and any other Wayfarer Party.
See id. ¶ 303 (sole allegation related to IEWU LLC identifying its purported citizenship for jurisdiction




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purposes). Under the FAC’s allegations, the alleged civil extortion has nothing to do with IEWU
LLC, nor could any amendment cure this deficiency to in good faith state the Extortion Claim against
Ms. Lively. See EVIP Canada, Inc. v. Schnader Harrison Segal & Lewis LLP, 2021 WL 964943, at
*19 (S.D.N.Y. Mar. 15, 2021) (Liman, J.), aff’d, 2022 WL 3904541 (2d Cir. Aug. 31, 2022)
(“Plaintiffs cannot seek damages on behalf of related [] entities. A corporation does not have standing
to assert claims belonging to a related corporation, simply because their business is intertwined.”)
(cleaned up); Sherman v. British Leyland Motors, Ltd., 601 F.2d 429, 439 (9th Cir. 1979) (president
and sole shareholder of California corporation lacked standing to pursue claims for injuries to
corporation); see also Proskauer Rose, LLP v. Blix Street Records, Inc., 384 F. App’x 622, 624 (9th
Cir. 2010) (affirming dismissal of sole shareholder for lack of standing “to complain of injury to the
corporation”); Coeur, Inc. v. Wygal, 2021 WL 4225657, at *4 (W.D.N.Y. Sept. 16, 2021) (“[A]
subsidiary generally lacks standing to sue on behalf of its parent corporation.”).

        Utterly lacking any basis in fact or law, IEWU LLC’s Extortion Claim is unwarranted,
frivolous, and sanctionable under Rule 11. See Watkins v. Smith, 2013 WL 655085, at *4 (S.D.N.Y.
Feb. 22, 2013), aff’d, 561 F. App’x 46 (2d Cir. 2014) (granting sanctions against plaintiff’s counsel or
decision to defendants “who had no involvement in the underlying events that gave rise to the
plaintiff’s suit”); Katzman v. Victoria’s Secret Catalogue, 167 F.R.D. 649, 660 (S.D.N.Y. 1996), aff’d
sub nom. 13 F.3d 1229 (2d Cir. 1997) (“As even a cursory examination of the requirements for
bringing suit … would have revealed the impossibility of the claim’s success”); Charles Equip. Energy
Sys., LLC v. INNIO Waukesha Gas Engines, Inc., 2023 WL 2346337, at *5-8 (S.D.N.Y. Mar. 3, 2023)
(sanctions appropriate where plaintiff “failed to identify a single statement or action by the Defendants
on which Plaintiff could have reasonably relied” for claim).

       B. IEWU LLC’s Interference Claims are Legally Unreasonable and Factually Baseless.

        IEWU LLC’s Interference Claims are equally untenable because IEWU LLC pleads no facts to
suggest Ms. Lively interfered with any of its contracts or business relationships. IEWU LLC brings
three Interference Claims against Ms. Lively: (i) Intentional Interference with Contractual Relations
(FAC ¶¶ 347-55); (ii) Intentional Interference with Prospective Economic Advantage (id. ¶¶ 356-65);
and (iii) Negligent Interference with Prospective Economic Advantage (id. ¶¶ 366-74), seeking
punitive and exemplary damages against Ms. Lively in connection with the intentional torts. These
claims rest exclusively on purported contractual or economic relationships between Wayfarer and
WME and between Baldoni and WME. See id. ¶¶ 348, 357, 367; IEWU Opp. at 27 (“The FAC pleads
a claim against Lively for tortious interference with Wayfarer’s and Baldoni’s relationships with
WME”); see also FAC ¶¶ 16, 162, 349-50, 357.

        The FAC’s allegations that Ms. Lively interfered with Wayfarer’s and Baldoni’s contractual or
economic relationships with WME does not, and cannot, provide any reasonable basis for IEWU LLC
to assert Interference Claims against anyone. See IEWU LLC Opp. at 38 (acknowledging interference
claims require establishing the “existence of a valid contract between the plaintiff and a third party”).
IEWU LLC cannot contrive a non-existent relationship between itself and WME, even if it attempted
to allege (which it has not) that there is any relationship between IEWU LLC and Wayfarer or Baldoni.
see also Sovereign Asset Mgmt., Inc. v. Health Net Life Ins. Co., 2019 WL 4640397, at *4 (C.D. Cal.
Sept. 10, 2019) (dismissing interference claim where “sister corporation [wa]s a legal stranger to the



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contract and business relations that were allegedly interfered with”) (internal quotation marks and
citation omitted); see also Restis v. Am. Coal. Against Nuclear Iran, Inc., 53 F. Supp. 3d 705, 726–28
(S.D.N.Y. 2014) (dismissing tortious interference with contract and prospective economic advantage
claims “where the plaintiff was neither a party to, nor an intended third-party beneficiary of, the
contract in question.”).

        As to IEWU LLC’s claim for Intentional Interference with Contractual Relations, “[o]ne can
hardly imagine a more frivolous claim than that of breach of a contract between parties who never met,
much less negotiated to the point of mutual assent. No reasonably competent attorney could have
believed that the facts available … made out a contract claim by plaintiffs …” Nassau-Suffolk Ice
Cream, Inc. v. Integrated Res., Inc., 114 F.R.D. 684, 691 (S.D.N.Y. 1987); see also McGough v. Wells
Fargo Bank, N.A., 2012 WL 6019108, at *5-6 (N.D. Cal. Dec. 3, 2012) (attorney violated Rule 11
where, among other things, contract-based claims were asserted against the wrong parties). The same
holds true for its remaining Interference Claims. See Polo Fashions, Inc. v. Fashion Assocs., Inc., 1986
WL 1176 (S.D.N.Y. Jan. 22, 1986) (awarding sanctions for frivolous suit not properly alleging tortious
interference with economic advantage). IEWU LLC’s Interference Claim against Ms. Lively are
objectively baseless. Katzman v. Victoria’s Secret Catalogue, 167 F.R.D. at 660; Charles Equip.
Energy Sys., LLC, 2023 WL 2346337, at *5-8.

       C. IEWU LLC’s Defamation Claim is Legally Unreasonable and Factually Baseless.

        IEWU LLC has alleged no false statements made by Ms. Lively concerning IEWU LLC,
without which its defamation claim is frivolous. “To state a defamation claim, the statement on ‘which
the claim is based must specifically refer to, or be ‘of and concerning,’ the plaintiff in some way.’”
Mahoney v. Meta Platforms, Inc., 2025 WL 563459, at *2 (N.D. Cal. Feb. 20, 2025) (quoting Blatty v.
N.Y. Times Co., 42 Cal. 3d 1033, 1042 (1986)). Nowhere in the 391-paragraph FAC does IEWU LLC
identify a single statement, or the substance of a single statement, made by Ms. Lively concerning
IEWU LLC.

        In its Opposition, IEWU LLC identifies three “publications” that it seeks to hold Ms. Lively
liable for defamation, none of which provides any basis for a defamation claim by IEWU LLC: (i) Mr.
Reynolds’ supposed comment to WME that Baldoni is a “sexual predator”; (ii) the Sloane Parties’
alleged statements that Baldoni “sexually assaulted” Ms. Lively; and (iii) unidentified statements to
third parties in response to “media inquiries,” including the New York Times and other outlets, “to the
effect that the Wayfarer Parties engaged in, permitted, and/or failed to prevent sexually inappropriate
conduct toward Lively and others and retaliated against Lively[.]” IEWU LLC Opp. at 7, 16-18 (citing
FAC ¶¶ 8, 162, 189-90, 193, 273-74, 276, 282, 325).

        It is both undeniable and conceded that the first two categories—statements to WME or other
third parties describing Baldoni as a “sexual predator” and statements concerning Baldoni’s sexual
assault of Ms. Lively—relate to Baldoni as an individual, and in no way concern IEWU LLC. See
FAC ¶¶ 8; 162; IEWU LLC Opp. at 16-17. A defamation claim brought by IEWU LLC on this basis
would be frivolous. As to the third category, the allegations as to statements that the “Wayfarer Parties
engaged in, permitted, and/or failed to prevent sexually inappropriate conduct toward Lively” have no
connection to IEWU LLC. See FAC ¶¶ 327, 325. IEWU LLC has further failed to identify in any



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way, let alone allege with specificity, any actual statements Ms. Lively allegedly made about it on this
topic (or any other) to the New York Times or other unspecified third parties. To assert this claim,
IEWU LLC must have a good faith basis to believe that Ms. Lively made false statements to the New
York Times or other news outlets that IEWU LLC propagated a misleading narrative about Ms. Lively.
With no third parties beyond the New York Times even identified, it is clear that IEWU LLC lacks a
good-faith basis for such allegations. See Rashdan v. Geissberger, 2011 WL 197957, at *9 (N.D. Cal.
Jan. 14, 2011) (“It is axiomatic that a plaintiff cannot predicate a defamation claim on what may have
been said as opposed to what was actually said.”); see also Goldman, 825 F. App’x at 35 (“speculation
that conversations may have taken place ... provides no support for allegations as to the content of
those conversations.”) (cleaned up). Nor has IEWU LLC identified any actual (or even theoretical)
statements made by Ms. Lively to the New York Times. And, as to the New York Times article itself
(for which Ms. Lively would not be liable), the Court has indicated such a “strong showing” that the
defamation claim against them will be dismissed that discovery is presently stayed against them. ECF
No. 118 at 2.

       Finally, and most fatal of all, any statements that Ms. Lively made to anyone about sexual
harassment or retaliation are privileged under a combination of the litigation, fair report and sexual
harassment privilege under California Civil Code Section 47.1.

II.       IEWU LLC’s Frivolous Claims Were Brought For the Improper Purpose of Harassing
          Ms. Lively, Causing Delay, and Increasing the Cost of Litigation.

        From its inception, this matter has been plagued by retaliatory conduct. IEWU LLC’s
admissions reveal that it was aware of Ms. Lively’s complaints of sexual harassment before it brought
this suit. See ECF No. 149 ¶ 16. In the case of Mr. Freedman, you have been aware of, involved in,
and/or have facilitated this course of conduct since your engagement no later than August 13, 2024. In
the case of Mr. Schuster, you have been aware of, involved in, and/or have facilitated this course of
conduct, including in the filing of the Amended Complaint and its baseless claims, as well as the
public relations strategy surrounding the litigation, since no later than your appearance on the docket
on January 22, 2025. ECF No. 22.

       Further, as to Mr. Freedman, as counsel for IEWU LLC and the other Wayfarer Parties, you
have orchestrated “flood the zone” tactics designed to confuse and mislead the public regarding the
nature of this litigation, as well as made statements taking aim at Ms. Lively, including by asserting:

      •   “Lively’s recent motion to dismiss herself from the self-concocted disaster she initiated
          is one of the most abhorrent examples of abusing our legal system. Stringent rules are
          put into place to protect the innocent and allow individuals to rightfully defend
          themselves. Laws are not meant to be twisted and curated by privileged elites to fit their
          own personal agenda. As we said yesterday in response to Mr. Reynolds’s same
          cowardly measures, we will continue to hold Ms. Lively accountable for her actions of
          pure malice which include falsely accusing my clients of harassment and retaliation.




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        Ms. Lively’s fantastical claims will be swiftly debunked as discovery moves forward,
        easily disproved with actual, evidentiary proof.” 1

    •   “It is shameful that Ms. Lively and her representatives would make such serious and
        categorically false accusations against Mr. Baldoni, Wayfarer Studios and its
        representatives, as yet another desperate attempt to ‘fix’ her negative reputation which
        was garnered from her own remarks and actions during the campaign for the film[.]” 2

    •   “It is painfully ironic that Blake Lively is accusing Justin Baldoni of weaponizing the
        media when her own team orchestrated this vicious attack by sending The New York
        Times grossly edited documents prior to even filing the complaint. We are releasing all
        of the evidence which will show a pattern of bullying and threats to take over the
        movie. None of this will come as a surprise because consistent with her past behavior
        Blake Lively used other people to communicate those threats and bully her way to get
        whatever she wanted. We have all the receipts and more.” 3

    •   “The irony is not lost on anyone that Ms. Lively is so petrified of the truth that she has
        moved to gag it. The immense power that she wielded in Hollywood built on pure fear
        for her husband and their powerful friends came to an end the moment Ms. Lively
        planned a mass distribution of a disturbingly false and well calculated hit piece in the
        New York Times. Ms. Lively did this with the sole intent to ruin the lives of innocent
        individuals, and then went the extra mile to place blame on a fictitious smear campaign,
        all because she quite simply could not accept that the public had organically seen
        through her facade. When you accuse innocent individuals of something so disturbing
        as sexual harassment without thinking of the destruction it would cause to not only
        them, but the entire domestic violence community, this is where accountability for such
        mean spirited actions must be taken.” 4

    •   “Blake isn’t just hurting Baldoni by accusing him of sexual harassment when he never
        did anything wrong ... she’s also devastating the entirety of the domestic violence
        community by lodging the allegations.” 5


1
    Justin Baldoni’s Lawyer Fires Back at Blake Lively’s Motion to Dismiss, TMZ (Mar. 21, 2025),
https://www.tmz.com/2025/03/20/justin-baldoni-lawyer-fires-back-blake-lively-motion-to-dismiss/.
2
  Statement to the New York Times from Bryan Freedman, attorney for Justin Baldoni, Wayfarer Studios and all its
representatives, The New York Times (Dec. 21, 2024), https://www.nytimes.com/interactive/2024/12/21/us/statement-to-
the-new-york-times.html.
3
  Jen Juneau & Elizabeth Rosner, Justin Baldoni’s Lawyer Vows to Release ‘Evidence’ of Blake Lively’s ‘Pattern of
Bullying’: ‘We Have the Receipts’, People (Jan. 7, 2025), https://www.yahoo.com/entertainment/justin-baldonis-lawyer-
vows-release-173959183.html?fr=sycsrp_catchall&guccounter=1.
4
  Justin Baldoni’s lawyer says he won’t be ‘bullied’ into silence by ‘petrified’ Blake Lively, Ryan Reynolds after gag order
request, Page Six (Jan. 25, 2025), https://pagesix.com/2025/01/25/celebrity-news/justin-baldonis-lawyer-says-he-wont-be-
bullied-into-silence-by-petrified-blake-lively-ryan-reynolds-after-gag-order-request/.
5
  Justin Baldoni’s Lawyer: Blake’s A Scared Bully, And She Won’t Silence Us . . . We Want The Truth
Public!!!, TMZ (Jan. 25, 2025), https://www.tmz.com/2025/01/25/justin-baldoni-not-bullied-into-silence-blakelively-
lawyer-says/#continued.



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        The “only plausible conclusion to be drawn” from all of this conduct is that you are acting with
the improper purpose of “harass[ing]” Ms. Lively, “causing delay,” and “needlessly increas[ing] the
cost of litigation” in direct violation of Rule 11(b)(1). DLA Piper LLP (US), 2024 WL 964596, at *5
(quoting Fed. R. Civ. P. 11(b)(1)). 6 Such conduct is willfully improper and warrants sanctions under
Rule 11(b)(1). See Gong, 2023 WL 5372473, at *13 (“[A] court may infer an improper purpose if, in
light of Plaintiff’s conduct during and outside of litigation, a complaint is baseless as to suggest that
there is an ulterior motive behind the lawsuit.”); S. Pac. Shipping Co. v. Redi-Fresh Produce Inc., 2014
WL 6968039, at *10 (S.D.N.Y. Dec. 9, 2014) (holding that “[t]he deficiency of [plaintiff’s] claim,
coupled with its behavior” in litigation “gives rise to an inference of improper purpose”); Galonsky v.
Williams, 1997 WL 759445, at *6 (S.D.N.Y. Dec. 10, 1997) (“[T]he overall circumstances of this case
indicate that [counsel] filed these baseless claims as part of a public relations campaign to embarrass
the defendants and thereby coerce a settlement.”).

                                                              ***

        We intend to seek monetary sanctions against you, your law firms, and IEWU LLC for the
costs and attorneys’ fees incurred in responding to these frivolous claims, in preparing these Rule 11
materials, and in any other expenses and interest directly resulting from these violations. See Goldman
v. Barrett, 2019 WL 4572725, at *4 (S.D.N.Y. Sept. 20, 2019) (quoting Fed. R. Civ. P. 11(c)(4)); Fed.
R. Civ. P. 11(c); In re Australia & New Zealand Banking Grp. Ltd. Sec. Litig., 712 F. Supp. 2d 255,
271 (S.D.N.Y. 2010). Pursuant to Rule 11(c)(1)(A), by service of this letter and the accompanying
motion, you have 21 days to withdraw the aforementioned claims against Ms. Lively. Should you not
withdraw those claims within 21 days, we will file the attached motion for sanctions, along with an
affidavit and a memorandum of law.




6
  We are concerned that you are doing so in an attempt to bolster your own career and reputation at Ms. Lively’ expense.
Debusmann Jr., Bernd, Who is Bryan Freedman, the lawyer said to represent Don Lemon and Tucker Carlson?, BBC (Apr.
27, 2023) (“What I realized is that if I wanted to be an entertainment lawyer, I had to sue entertainers. No one would hire
you until you built a reputation. . . . So I started to focus on going after entertainers, and defeating established entertainment
litigators . . . in things that were high profile so that someone would write something about it.”).



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                                                    Respectfully,



/s/ Esra A. Hudson                                  /s/ Michael J. Gottlieb
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cc:    Meryl Governski, Willkie, Farr & Gallagher, LLP
       Kristin Bender, Willkie, Farr & Gallagher, LLP
       Aaron Nathan, Willkie, Farr & Gallagher, LLP
       Stephanie Roeser, Manatt, Phelps & Phillips LLP
       Matthew F. Bruno, Manatt, Phelps & Phillips LLP

Enclosure.




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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


BLAKE LIVELY,

                               Plaintiff,

v.                                                             No. 24-cv-10049 (LJL) (lead case)

WAYFARER STUDIOS LLC, et al.,

                               Defendants.


WAYFARER STUDIOS LLC, et al.,

                               Plaintiffs,

v.                                                            No. 25-cv-449 (LJL) (member case)

BLAKE LIVELY, et al.,

                               Defendants.


     NOTICE OF CONSOLIDATED DEFENDANT LIVELY’S MOTION FOR RULE 11
      SANCTIONS AGAINST PLAINTIFF IT ENDS WITH US MOVIE LLC AND ITS
                               COUNSEL

        Consolidated Defendant Blake Lively hereby moves pursuant to Federal Rule of Civil

Procedure 11 (“Rule 11”) for sanctions against Consolidated Plaintiff It Ends With Us Movie LLC

(“IEWU LLC”), Bryan Freedman, Mitchell Schuster, Liner Freedman Taitelman + Cooley, and

Meister Seelig & Fein PLLC. Ms. Lively respectfully submits that the Court should impose

monetary sanctions against IEWU LLC and his counsel as a consequence of their filing the

following five causes of action against Ms. Lively: (1) Civil Extortion (First Cause of Action); (2)

Defamation (Second Cause of Action); (3) Intentional Interference with Contractual Relations

(Fifth Cause of Action); (4) Intentional Interference with Prospective Economic Advantage (Sixth

Cause of Action); and (5) Negligent Interference with Prospective Economic Advantage (Seventh

Cause of Action). Each of these causes of action are unwarranted by existing law, and lack any

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factual contentions of evidentiary support, in violation of Rule 11(b)(2) and (b)(3). Instead, these

causes of action have been brought for the “improper purpose” of “harass[ing]” Ms. Lively,

“caus[ing] unnecessary delay,” and “needlessly increase[ing] the cost of litigation,” in violation of

Rule 11(b)(1).

       For these reasons, and those set forth in more detail in the accompanying memorandum of

law, the Court should impose monetary sanctions on IEWU LLC and its counsel to deter this kind

of egregious willful misconduct in the future.

                                                       Respectfully submitted,

 Dated: May 15, 2025                                   /s/ Esra A. Hudson

  WILLKIE FARR & GALLAGHER LLP                         MANATT, PHELPS & PHILLIPS, LLP
  Michael J. Gottlieb                                  Esra A. Hudson (admitted pro hac vice)
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